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Case 3:17-cr-03690-A.]B Document47 Filed 03/07/19 Page|D.ZOl Pagelon

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, )
)
Piaintiff, ) coNsENT To RULE 11 PLEA
) IN A FELONY cAsE BEFORE
v. ) UNITED sTATEs MAGISTRATE
a ,. - JUDGE
“{YW@@W\ RDCVQDO\’\§> §
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Defendant.

 

l have been advised by my attorney and by the
United States Magistrate Judge of my right to enter my
plea in this case before a United States District
Judge. I hereby declare my intention to enter a plea
of guilty in the above case, and l request and consent
to have my plea taken by a United States Magistrate
Judge pursuant to Rule ll of the Federal Rules of
Criminal Procedure.

I understand that if my plea of guilty is taken by
the United States Magistrate Judge, and the Magistrate
Judge recommends that the plea be accepted, the
assigned United States District Judge will then decide

whether to accept or reject any plea agreement l may

Criminal No. \" M,SUQO ""A\

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Case 3:17-cr-03690-A.]B Document47 Filed 03/07/19 Page|D.ZOZ PageZon

have with the United States and will adjudicate guilt
and impose sentence.
I further understand that any objections to the

Magistrate Judge’s findings and recommendation must be

 

 

 

Dated: 35 7’;2:2

The United States Attorney consents to have the

Attorney“for Defendant

plea in this case taken by a United States Magistrate

Judge pursuant to Criminal Local Rule ll.l.

Dated: qg\v Lz <}£:i%;

ssistant United States
ttorney

 

